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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                                         *
Jeff Hulbert, et al.                     *
                          Plaintiff(s)   *
                                         *
                      vs.                *   Case No.: 1:18−cv−00461−GLR
                                         *
Brian T. Pope, et al.                    *
                          Defendant(s)   *
                                         *
                                       *****



      ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE


      In accordance with 28 U.S.C. § 636 and Local Rules 301 and 302 of the United
States Court for the District of Maryland, this case is hereby referred to the Honorable
Susan K. Gauvey, United States Magistrate Judge, for said District, for the following
purposes(s):

[]       For all proceedings and the entry of judgment in accordance with 28 U.S.C. §
         636(c) by consent of the parties.
[x]      Settlement or other ADR conference.
[]       Discovery disputes as follows:
         []        All discovery and related scheduling matters.
         []        All discovery matters.
         []        Specifically,
[]       Hearing (if necessary), proposed findings of fact, and recommendations for the
         disposition of motions to review administrative determinations in a Social
         Security or related benefits case pursuant to 42 U.S.C. § 405(g).
[]       Ordering and conducting supplementary proceedings in accordance with Md. R.
         Proc. 2−633.
[]       Reviewing a default judgment and/or making recommendations concerning
         damages.
[]       Other




Date: April 24, 2019                                    ___________/s/________________
                                                         George L. Russell
                                                         United States District Judge
